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                       Exhibit A
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2/17/2020                                                Juror         in Roger Stone's case: Was justice undone? I TheHill




                                             Juror     in Roger Stone's cas
                                             Was justice undone?
                                             BY JONATHAN TURLEY, OPINION CONTRIBUTOR - 02/15/2010:30 AM EST
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       Just In ...

       Pompeo promotes                                                                                                            X
       economic ties, takes
       aim at corruption in                                                                                     tJ.::11   ' / I
                                                          Men la I health expl'rts say
       Africa visit
                                                        witnessing tiagedy can trigger
       INTERNATIONAL - 2M 515 AGO
                                                               post-traumatic stress.
                                                              even when we don't know
        Russian sanctions will                                  the victims personally.
        boomerang
        OPINION - SM 135 AGO



        Malaysia says it will
        choose 5G partners
        based on own
        standards, not US
        recommendations
        TECHNOLOGY -16M 45 AGO




        Redbox quietly rolls out                She was Juror No.        and her examination by the federal court and
        free streaming service                  counsel before the trial was anything but notable. And that is precisely the
        BLOG BRIEFING ROOM                      problem.
        -39M BS AGO

                                                Juror           now know, was                 . Her identity would have
        Russian foreign minister                remained publicly unknown except for a public statement she made after
        says he sensed 'more                    the Department of Justice (DOJ) rescinded its initial sentencing
        constructive' approach                  recommendation for Trump confidant Roger Stone. In the midst of the
        after meeting with                      firestorm of allegations of political interference,       disclosed that she
        Pompeo                                  was the foreperson on the Stone jury and gave a full-throated defense of
        INTERNATIONAL - 46M 25 AGO
                                                the trial prosecutors: "It pains me to see the DOJ now interfere with the
                                                hard work of the prosecutors."
        States, cities rethink tax
        incentives after Amazon                 That statement led many people to Google her name, and what they
        HQ2 backlash                            found was a litany of postings not only hostile to President Trump and his
        STATE WATCH - SOM 75 AGO
                                                administration but also specifically commenting on Stone and his arrest -
                                                before she ever appeared for jury duty.
        Facebook white paper
        calls for 'new type of                  I have revious l written about how I believe that the DOJ was correct in
        regulator' for the good                 its rejection of the absurdly high recommendation of seven to nine years
        of its business                         in prison for Stone. However, there are legitimate questions that must still
        TECHNOLOGY - SSM 105 AGO
                                                be addressed on how the Justice Department came to that decision. Yet
                                                while cable shows exhaustively cover that story, there is an equally serious
        The high school                         question as to whether the conviction itself, rather than the sentencing
        diploma dilemma                         recommendation, should be reevaluated.
         OPINION -1H SM AGO



 https://lhehill.com/oplnlon/crimlnal-Justlce/483210-juror-       -ln-roger-stones-case-was-justice-undone                            1/3
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       VIEW ALL                                        is a Democratic activist and critic of the Trump administration. She
                                                  was the Memphis City Schools board president. Not surprisingly, given
       View Latest Opinions»                      her political background (including a run for Congress),       has been
                                                  vocal in public on her views of Trump and his associates.

                                                  She referred to the President with a hashta of "klan resident" and spoke
                                                  out against "Trump and the white supremacist racists." She posted about
                                                  how she and others protested outside a Trump hotel and shouted,
                                                  "Shame, shame, shame!" When profanities were projected on the Trump
                                                  hotel, she exclaimed on Jan. 13, 2018, "Gotta love it." On March 24,
                                                  2019, she shared a Facebook post - no longer public - while calling
        Related News            by                attention to "the numerous indictments, guilty pleas, and convictions of
                                                  people in 45's inner-circle."

                                                  More worrisome are her direct references to Stone, including a retweeted
                                                  post, in January 2019, from Bakari Sellers, again raising racist associations
                                                  and stating that "Ro er Stone has 'all talkin about reviewin use of
                                                  force guidelines." She also described Trump supporters such as Stone
        Desperate in Southern                     as racists and Putin cronies.
        California: Darrell lssa's
                                                  In addition to her prior statements about Trump, his associates and this
                                                  case,      is a lawyer. That only magnifies concerns that any bias on her
                                                  part may have had a more pronounced influence on her fellow jurors.

                                                  In fact, except for a jury pool composed entirely of House impeachment
                                                  managers,         would appear to be a standout for a peremptory challenge
        Clarence Thomas breaks
                                                  by the defense team over bias. That is why the most surprising aspect of
        his silence in theaters
                                                  this story is not the review of her public statements but the review of her
                                                  examination before trial. The brief examination in the voir dire hearing
                                                  shows that         did disclose her ties to the Democratic Party. U.S. District
                                                  Judge Amy Berman Jackson asked if             s political history would prevent
                                                  her from being fair, and        assured her it would not.

        Find A Great Loan Rate                     While     's answers on the jury questionnaire remain sealed, Judge
        Sponsored I NerdWallet Personal
        Loans
                                                   Jackson noted, "You've also indicated a fair amount of paying attention to
                                                   news and social media, including about political things?"     does not
                                                   volunteer that she did far more than "pay attention to news and social
                                                   media" and was, in fact, an anti-Trump protester and social media critic.

                                                   Jackson seemed unaware of anything more than             s following the news
                                                   and asked if anything that       saw would affect her views.        again did
         The man absent from
                                                   not mention her protesting or public commentary and said she could not
         the State of The Union
                                                   think of anything that would cause bias - "nothing that I can recall
                                                   specifically. I do watch, sometimes paying attention but sometimes in the
                                                   background, CNN. So, I recall just hearing about him being part of the
                                                   campaign and some belief or reporting around interaction with the
                                                   Russian probe and interaction with him and people in the country, but I
                                                   don't have a whole lot of details. I don't pay that close attention or watch
                                                   C-SPAN."

                                                   She never mentioned that she specifically discussed Stone's arrest and
                                                   the objections to his treatment during that arrest as well as denouncing all
                                                   of the associates of Trump as a virtual criminal enterprise.

                                                   Stone's counsel, Robert Buschel, also asked a few questions but was
                                                   either entirely uninformed or utterly incompetent. Buschel only asked
                                                   about       being a Democrat who ran for Congress. The examination by
                                                   the defense amounted to less than two pages and roughly 250 words of
                                                   exchange with         It seems most likely that Buschel did not have a clue
                                                   about         actual political activism and commentary.

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2/17/2020                                                     Juror       in Roger Stone's case: Was justice undone? I TheHill
                                                  That lack of knowledge is not surprising since multiple questions on the
                                                  jury questionnaire allowed her to reveal her past protests and
                                                  postings. For example, Question 30 asked whether she had any opinion
                                                  about figures such Donald Trump. There also was Question 23 that
                                                  asked whether she had "written or posted anything for public
                                                  consumption about the defendant, the House Permanent Select
                                                  Committee on Intelligence investigation into Russian interference in the
                                                  2016 presidential election, or the investigation conducted by Special
                                                   Counsel Robert Mueller?" Questions 34 and 35 specifically ask about her
                                                   prior knowledge or opinions of the Stone case, which she referenced on
                                                   social media. It is hard to believe that she disclosed these public
                                                   statements in her answer and was not questioned about them.

                                                   If this information was withheld by   , it raises a question about the
                                                   veracity of her testimony and, more importantly, the fairness of the trial.

                                                   It certainly seems         had no place on the Stone jury. The Supreme Court
                                                   has repeatedly declared that the "minimal standards of due process"
                                                   demand "a panel of impartial, indifferent jurors."        's record suggests
                                                   little that is impartial or indifferent. She was perfectly within her right to
                                                   engage in such commentary and protests - but she had no right to sit in
                                                   judgment of an associate of the president after her public
                                                   declarations. Her participation raises serious arguments for setting aside
                                                   the verdict, from the possibility of ineffective counsel to the denial of due
                                                   process.

                                                   The burden now is on Judge Jackson to hold a hearing on this matter and
                                                   address the possible need for a mistrial. And one thing will be clear: Judge
                                                   Jackson, in the words of Juror No.       does not "gotta love" any of this.

                                                   Jonathan Turley is the Shapiro Professor of Public Interest Law for George
                                                   Washington University and served as the last lead counsel during a Senate
                                                   impeachment trial. He testified as a witness expert in the House Judiciary
                                                   Committee hearing during the impeachment inquiry of President Trump.

                                                   TAGS ROGER STONE ROBERT MUELLER DONALD TRUMP ROGER STONE TRIAL SOCIAL MEDIA




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